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     JANIS JONES
 7
 8
                                  UNITED STATES DISTRICT COURT
 9
                                       DISTRICT OF NEVADA
10
11
      UNITED STATES OF AMERICA,
12                                                          Case No. 2:17-CR-244-APG-NJK
                     Plaintiff,
13
14    vs.

15    JANIS JONES,
16                   Defendant.
17
                              STIPULATION AND ORDER TO TRAVEL
18
19          IT IS HEREBY STIPULATED AND AGREED, by and between JIM W. FANG,

20   Assistant United States Attorney, counsel for the United States of America, and MICHAEL D.
21
     PARIENTE, ESQ., counsel for JANIS JONES; that Defendant Jones’s pretrial release
22
     conditions be temporarily modified to allow her to travel outside of Las Vegas, Nevada as set
23
     forth below. This stipulation is entered into for the following reasons.
24
25          1.      Jones will be traveling with her son to travel to Oahu, Hawaii from January 22,

26                  2022 through January 29, 2022.
27
28



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 1          2.      The Pretrial Services Officer supervising Jones informs the Government that she
 2                  has no objection to Jones traveling to Oahu, Hawaii and that Jones has to date
 3
                    complied with her conditions of release.
 4
            3.      As a condition of Jones’s pretrial release, she is restricted to travel.
 5
 6          Accordingly, the parties hereby request that the Court temporarily modify Jones’s

 7   conditions to allow her to travel under the following conditions:
 8
            1.      Jones will be allowed to travel to Oahu, Hawaii from Las Vegas, Nevada on
 9
                    January 22, 2022 through January 29, 2022.
10
            2.      Within 24 hours of her return to Las Vegas, Nevada, Jones will check in with her
11
12                  pretrial officer.

13                  DATED this 2nd day of December, 2021.
14
       /s/ Michael D. Pariente, Esq.                /s/ Jim W Fang, Esq.
15   MICHAEL D. PARIENTE, ESQ.                      JIM W FANG
     Nevada Bar No. 9469                           Assistant United States Attorney
16   3800 Howard Hughes Pkwy, Suite 620            501 Las Vegas Blvd. S., Ste. 1100
17   Las Vegas, Nevada 89169                       Las Vegas, NV 89101
     Attorney for Defendant Jones                  Attorney for the United States
18
19
20                                                 ORDER
21          Based upon the Stipulation of Counsel, and with good cause appearing, IT IS SO
22   ORDERED.
23          DATED this 6th day of December, 2021.
24
25                                                           _______________________________
26                                                           U.S. MAGISTRATE JUDGE

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